






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00025-CR






James Timothy Brinson Jr., Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF HAYS COUNTY, 22ND JUDICIAL DISTRICT

NO. CR-06-762, HONORABLE WILLIAM HENRY, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant James Timothy Brinson, Jr. appeals from the trial court's judgment of
conviction.  The record does not contain the trial court's certification of Brinson's right of appeal. 
See Tex.&nbsp;R. App. P. 25.2(a)(2), (d).  Rule 25.2(a)(2) states:  "The trial court shall enter a certification
of the defendant's right of appeal each time it enters a judgment of guilt or other appealable order." 
Id.  The appeal is therefore abated and the trial court is ordered to prepare and file its certification
of Brinson's right of appeal as required by rule 25.2(a)(2).  A supplemental clerk's record containing
the court's certification shall be tendered for filing no later than thirty days from the date of this
opinion.  See Tex. R. App. P. 25.2(d), 34.5(c)(2), 37.1.



					___________________________________________

					David Puryear, Justice

Before Chief Justice Law, Justices Puryear and Pemberton

Abated

Filed:   August 28, 2008

Do Not Publish


